      Dated: 3/20/2018
                    IN THE UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF TENNESSEE


       In re:
                JOSHUA & ALLYSHA HUTCHISON                     CASE NO. 3:16-bk-05686
                7443 CHOWNING RD                               CHAPTER 13
                SPRINGFIELD, TN 37172                          JUDGE WALKER
                SSN xxx-xx-0577; XXX-XX-4359

         ORDER GRANTING MOTION TO UTILIZE INSURANCE PROCEEDS

       Debtors filed a Motion to Utilize Insurance proceeds on February 23, 2018. Twenty-One days

have passed and no objections have been filed; therefore,

       IT IS ORDERED that Farm Bureau issue approximately Six Hundred Thirty Seven

Dollars and Ninety Six Cents ($637.96) to The Chapter 13 Trustee, P.O. Box 340019, Nashville,

TN 37203 to pay off the secured claim of American Airlines Federal Credit Union; that American

Airlines Federal Credit Union, be required to provide guarantee of title to Farm Bureau Insurance

on Debtors’ 2012 Chevrolet Sonic and that Farm Bureau Insurance issue approximately Three

Thousand One Hundred Fifteen Dollars and Four Cents ($3,115.04) to Debtors at 7443 Chowning

Rd Springfield, TN 37172 in order for them to purchase a replacement vehicle. No additional funds

should be disbursed by the Trustee on the secured claim to American Airlines Federal Credit Union

and the dividend to unsecured creditors shall remain at 30%.

       This Order was signed and entered electronically as indicated at the top of this page.

APPROVED FOR ENTRY:

/s/ Scott D. Wilson
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                                                                         This Order has been electronically
                                                                         signed. The Judge's signature and
                                                                         Court's seal appear at the top of the
                                                                         first page.
                                                                         United States Bankruptcy Court.

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